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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK
 – – – – – – – – – – – – – – – – – – – – – – – – – –X
MARKY'S MARTIAL ARTS, INC dba                       :            1:19-CV03363
KILLEARN LAKES TAEKWONDO,



                                Plaintiff,          :            NOTICE RE: COMPLIANCE
                                                                 WITH ORDER DATED
                      against                       :


FC ONLINE MARKETING, INC., dba                      :
FCOM,
                                Defendant.          :
 – – – – – – – – – – – – – – – – – – – – – – – – – –X

       Pursuant to this Court's February 28, 2020 Order, Plaintiff is submitting a Proposed Order

for default judgment along with affidavits and exhibits to prove Plaintiff's damages.

March 30, 2020
New York, New York



                                                   RESPECTFULLY SUBMITTED,

                                                   By: /s/ T. Edward Williams, Esq.
                                                   T. Edward Williams, Esq.
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